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DATE: FEBRUARY 26, 2016 FRIDAY
Indicate custody level for each Inmate / Low Custady inmates only in 108VC / 110/444

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Shacktes may be used if necessary if scheduling High or Moderate custody in 109VC / 110/111 {Contact Chief of Security fer prior approval} f
2 Indicates count time - DO NOT START a visit during this time frame. if a visit runs into this tiry6 frame that is ok. /
“HIGH, MODERATE, & LO! HIGH, MODERATE, & LOW = [VIDEO CONFERENCE, LO MODERATE & LOW /_, «MODERATE & LO MODERATE & LOW MODERATE & LOW
Time ve RM rM2 \\ pete RM : RM 6 I OFS) RMT % RMe RM 9
ro HOROE I SAE ga Mc lg in SE LPT GR TES MGaD gfe ei So sis go efeniiouici war file Lense
B30 AM | as i \\ on . et [
& \\ j
9:00 AM i
9:30 AN
40:00 AM
10:30 AM
44:00 AM
14:36 AM
42:60
42:30 PM
4:00 PM
2530 PM CCLINTON-LER-TO SEE
JUAN DUARTE-TELLO

2:00 PM 1108 27921037 LOW

x
2:30 PM x

x
3:00PM x

EXHIBIT

A

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crs

CORRECTIONS CORPORATION OF AMERICA
Phone: 913-727-3246
Fax: 943-727-2234

VISITOR LOG
CORRECTIONS CORPORATION OF AMERICA
LEAVENWORTH DETENTION CENTER

DATE wy

|NAME OF VISITOR

[PHOTO ID & #

- [REASON FOR VISIT |BADGE # [TIME IN/ OUT] SIGNATURE

